Case 1:17-bk-11331-MT         Doc 33 Filed 07/19/17 Entered 07/19/17 11:49:06                Desc
                                Main Document Page 1 of 2


  1    Michael Avanesian (State Bar No. 278685)
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  4                                                                      JUL 19 2017
  4    Attorney for Debtor
  5
  5                                                                 CLERK U.S. BANKRUPTCY COURT
                                                                    Central District of California
  6                           UNITED STATES BANKRUPTCY COURT        BY Gonzalez DEPUTY CLERK

  6
  7                            CENTRAL DISTRICT OF CALIFORNIA
  7
  8                             SAN FERNANDO VALLEY DIVISION
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  9
  9                                                  Case No.: 1:17-bk-11331-MT
 10    In re:
 10                                                  Chapter 13
 11    NURIT PETRI,
                                                     ORDER APPROVING DEBTOR’S
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 12                        Debtor.                   MOTION TO REASSIGN JUDGE
                                                     PURSUANT TO LBR 1073-1 AND
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 13                                                  LBR 9013-1(o)
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 14                                                  [No hearing required unless requested]
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 20             TO THE HONORABLE MAUREEN TIGHE, UNITED STATES
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 21    BANKRUPTCY JUDGE, THE UNITED STATES TRUSTEE, AND ALL
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 22    PARTIES IN INTEREST:
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 23             Debtor Nurit Petri (“Debtor”) the debtor in the above captioned case, filed a
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 24    motion (“Motion”) for approval of Debtor to be reassigned to the Honorable
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 25    Judge Martin R. Barash, who participates in the Loan Modification Pilot Program. The
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 26    Court has considered the Motion submitted, any other papers filed in this matter, and the
 25
 27    facts and circumstances of this case.
 26
 28    ///
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                             Main Document Page 2 of 2


  1           IT IS HEREBY ORDERED THAT:
  22          1.     The Motion is granted; and
  33          2.     This case is hereby reassigned to Judge Martin Barash.
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 22 Date: July 19, 2017
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